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WESTERN D|STR|CT OF TENNESSEE

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"" 2:04cR20056.o1.Mi: gets

ROY PAGE
Randa|| Pierce Retained
Defense Attorney
P.O. Box 3410
Memphis, TN 38173-0410

 

 

JUDGMENT lN A CRIM|NAL CASE
(_For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the |nformation on February 13, 2004.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tiue & section NMfOff_e_rw_e offense MLQ!
Concluded
21 U.S.C. §§ 331(a) and lntroduction and Delivery for 02/28/2000 1

333(a)(2) lntroduction into interstate Commerce
a Misbranded Drug

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 04/03/1930 August 3, 2005
Deft’s U.S. lV|arsha| No.: 19471-076

Defendant’s Mailing Address:

4315 Walnut Grove
lVlemphis, TN 38117

/Ql~€ll? °'OM.
J N PH|PPS MCCALLA
UN| ED ATES D|STR|CT JUDGE

This document entered on the docket sheet ln compllQ¢Ll@t.lSt 1 , 2005

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Case No: 2:04CR20056-01-N|| Defendant Name: Roy PAGE Page 2 of 3

PROBAT|ON

The defendant is hereby placed on probation for a term of 1 ¥ear.

While on probation, the defendant shall not commit another federal, state, or local
crime and shali not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave thejudicia| district without the permission of the court or probation ocher;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed. or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofticer;

9. The defendant shall permit a probation ofhcer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:04CR20056-O1-M| Defendant Name: Roy PAGE Page 3 of 3

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ofticer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation ocher to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shaii be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Total Fine Total Restitution
$100.00 $2,000.00

The Specia| Assessment shall be due immediately

FlNE
A Fine in the amount of $ 2,000.00 is imposed.
REST|TUT|ON

No Restitution was ordered.

 

ISTRIC COURT - WESTERN DSTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:04-CR-20056 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE

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P.O. Box 34 l 0

Memphis7 TN 3 8173--041

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Honorable J on McCalla
US DISTRICT COURT

